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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION
Roland Black,                                  )
                                               )
         Plaintiff,                            )
                                               )   Case No. 1:18-cv-6518
                        v.                     )
                                               )
Officer Priscilla Hernandez, Officer Zermeno )
(first name unknown), and the City of Chicago, )
                                               )   The Honorable ___
                                               )   Jury Demanded
         Defendants.                           )

                                         COMPLAINT

                                       INTRODUCTION

       1.      After Defendant Chicago Police Officer Priscilla Hernandez bungled a simple

traffic stop on January 24, 2014—leading to a car chase, a crash, and the escape of an unknown

suspect on foot—she decided to cover for herself by framing an innocent man. That man was

Roland Black, the plaintiff in this action. Roland spent multiple months in prison awaiting trial

because of Officer Hernandez's false accusations against him. He suffered physically and

mentally due to his needless incarceration.

       2.      Officer Hernandez destroyed (or caused to be destroyed) the evidence that would

have shown conclusively that Roland was innocent: the driver's license of the person she actually

pulled over, and the dash-cam footage showing a different person—not Roland—get out of the

upturned car and run away.

       3.      Officer Hernandez intentionally and maliciously caused Roland to be arrested and

ultimately prosecuted for crimes related to the January 24, 2014 traffic stop and car chase.

Officer Hernandez knew that Roland was innocent of these crimes, and had absolutely no

probable cause to cause his arrest and prosecution.
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        4.       Roland was held in jail from his arrest until his trial on August 10, 2017. On that

date he was acquitted and was released from custody shortly thereafter.

        5.       Therefore, Officer Hernandez violated Roland's rights under the Fourth and

Fourteenth Amendments of the United States Constitution and should be liable to him for

compensatory and punitive damages as well as attorney's fees and costs.

                                  JURISDICTION AND VENUE

        6.       This action is brought pursuant to 42 U.S.C. § 1983 to redress the Defendants’

deprivation of Plaintiff’s rights secured by the U.S. Constitution.

        7.       This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331.

        8.       Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial

district; and the events giving rise to Plaintiff’s claims asserted herein all occurred within this

judicial district.

                                              PARTIES

        9.       Ronald Black is a 37-year-old man. He is currently a resident of the state of

Illinois.

        10.      Defendants Priscilla Hernandez and Zermeno (first name unknown) are officers

with the Chicago Police department employed by the City of Chicago. At all times relevant to

the events described in this Complaint, Hernandez and Zermeno were acting under color of law

and within the scope of their employment with the Chicago Police Department.

        11.      Defendant City of Chicago is an Illinois municipal corporation that is or was the

employer of Defendant(s) Unidentified Chicago Police Department Employee(s). The City of

Chicago is liable for the policies and practices of the Chicago Police Department.

                                               FACTS
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        12.    On January 24, 2014, at approximately 6200 South King Drive, Officer Priscilla

Hernandez pulled a red Buick Regal over for making an illegal left turn.

        13.    According to her sworn testimony in a prior proceeding, Officer Hernandez asked

the individual driving the car for his driver’s license, physically took possession of the license,

wrote a ticket based off of that license, and put them both in an envelope.

        14.    Hernandez testified that she sent the ticket and license to a traffic court.

        15.    Hernandez did not inventory the license or ticket.

        16.    According to Hernandez's testimony, after she took the license, the driver fled the

scene. Hernandez and her partner Officer Zermeno followed the red Buick Regal in their patrol

car.

        17.    The red Buick Regal crashed into several other parked cars. The Regal came to

rest on its side and was disabled.

        18.    Hernandez and Zermeno pulled up behind and to the side of the Buick Regal. The

disabled Buick Regal was in view of the dash-cam on Hernandez's patrol car.

        19.    The dash-cam on Hernandez and Zermeno's patrol car was activated and

recording at the time.

        20.    At that point, the unknown driver exited the Buick Regal and fled on foot in full

view of the dash-cam.

        21.    Officers Hernandez and Zermeno were unable to apprehend the unknown suspect.

He escaped on foot.

        22.    In the case report regarding this incident that Hernandez authored, there is no

driver’s license number nor any mention of Hernandez asking for a driver’s license in the

narrative.
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       23.     According to the transcript of the police radio traffic at the time of this incident,

Roland Black’s name is not mentioned until after Officer Hernandez has returned to the station—

at which point she ran the plates of the red Buick Regal and discovered that the vehicle was

linked to Plaintiff Roland Black.

       24.     The traffic court—to which Officer Hernandez testified she sent the driver's

license and ticket—has no record of any such license or ticket.

       25.     In fact, on information and belief, Hernandez and Zermeno caused the ticket and

license to be intentionally destroyed or misplaced to cover up the fact that Roland Black was not

the suspect who had been driving the Buick Regal.

       26.     At some point after January 24, 2014, but before any video footage could be

turned over to Roland's criminal defense attorney, the dash-cam footage from Hernandez and

Zermeno's patrol car was purged and destroyed.

       27.     On information and belief, Hernandez and Zermeno caused the dash cam footage

to be destroyed to cover up the fact that Roland Black was not the unknown suspect who fled the

disabled Buick Regal on January 24, 2014.

       28.     Officers Hernandez and Zermeno knew that either of those items of evidence—

the license or the dash-cam footage—would show that Roland Black was totally uninvolved in

the traffic stop, chase and crash.

       29.     Despite her knowledge of Roland Black's innocence, Hernandez falsely reported

that Roland was the driver of the Buick Regal.

       30.     On information and belief, the reason that Hernandez intentionally caused the

evidence to be destroyed, and intentionally caused the arrest of Roland Black whom she knew to
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be innocent, was to cover up the fact that she botched a traffic stop and allowed a suspect to

escape.

          31.   Officer Zermeno, who like Hernandez was fully aware that Roland Black was not

the unknown suspect who had been driving the Buick Regal, intentionally acquiesced to

Hernandez's false statements and failed to intervene to prevent the wrongful arrest, detention and

prosecution of a man he knew was innocent.

                    The Arrest, Detention, and Prosecution of Roland Black

          32.   Based solely on Officer Hernandez's knowingly false report, and Officer

Zermeno's intentional acquiescence to the false statements in that report, a warrant was issued for

Roland Black.

          33.   Roland Black was arrested by members of the Chicago Police Department based

on that warrant.

          34.   Roland Black was charged with multiple crimes in case number 14-CR-03581-01

(State of Illinois, Cook County). All the charges were based entirely on Hernandez's knowingly

false statements.

          35.   Roland was on supervised release (i.e. parole) at the time for an unrelated

conviction. Because he was arrested and charged in case 14-CR-035810-01, his parole was

revoked and he was imprisoned until he could be tried for the crimes that Hernandez falsely

accused him of.

          36.   The only reason for Roland's parole to be revoked was the knowingly false

statements of Officer Hernandez and Officer Zermeno's knowing acquiescence to those false

statements, and the unlawful destruction of evidence that would have proven his innocence.
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        37.     Were it not for Officer Hernandez and Officer Zermeno's intentional dishonesty—

despite their knowledge that absolutely no probable cause existed to charge Black with any crime

related to the botched traffic stop—Roland would have remained a free man.

        38.     On August 10, 2017, a bench trial was held. Officer Hernandez was the only

witness.

        39.     On that same day, after hearing Officer Hernandez's testimony, the judge

acquitted Roland of all charges. He was a free man.

        40.     Once Roland was acquitted, his purported parole violation was invalidated and he

was released from custody.

                                   COUNT I – 42 U.S.C. § 1983

                                       Wrongful Detention

        41.     Plaintiff incorporates each paragraph of this Complaint as if fully restated here.

        42.     In the manner described above, Defendants, acting as an investigator individually,

as well as under color of law and within the scope of their employment, accused Plaintiff of

criminal activity and exerted influence to initiate, continue, and perpetuate judicial proceedings

against Plaintiff, including the prolonged pre-trial detention of the Plaintiff, without any probable

cause for doing so and in spite of the fact that they knew Plaintiff was innocent, in violation of

his rights secured by the Fourth and Fourteenth Amendments of the United States Constitution.

        43.     In doing so, Defendants caused Plaintiff to be subjected improperly to judicial

proceedings for which there was no probable cause, and to be detained without probable cause,

resulting in injury.
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         44.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, with reckless indifference to the rights of others, and in

total disregard of the truth and Plaintiff’s clear innocence.

         45.   As a result of Defendant’s misconduct described in this Count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, emotional pain and suffering, and other

grievous and continuing injuries and damages as set forth above.

         46.   Plaintiff’s injuries were caused by employees of the City of Chicago, who acted

pursuant to the policies and practices of the Chicago Police Department described in more detail

below.

                                      COUNT II – 42 U.S.C. § 1983

                               Violation of Plaintiff’s Due Process Rights

         47.   Defendants withheld, suppressed and fabricated evidence, thereby misleading and

misdirecting the criminal prosecution of Plaintiff.

         48.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, with reckless indifference to the rights of others, and in

total disregard of the truth and Plaintiff’s clear innocence.

         49.   Defendant Hernandez destroyed and fabricated evidence relating to the identity of

the driver of the red Buick Regal she pulled over on January 24, 2014. This evidence fabricated

by Hernandez includes, but is in no way limited to, the proclaimed obtainment of his driver’s

license. On information and belief, Defendant Hernandez also caused the destruction of dash

camera footage that would have proved Mr. Black’ innocence.
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         50.    The actions of Defendants deprived Plaintiff of his constitutional rights,

including, but not limited to, his right to due process and his right to be free from seizures of his

person, including imprisonment, without probable cause.

         51.    The Defendant Officers' misconduct resulted directly in the prolonged and unjust

criminal prosecution of Plaintiff and the wrongful revocation of his supervised release from

incarceration, thereby denying his constitutional right to be free of unlawful detention without

probable cause.

         52.    As a result of the Defendants' misconduct, Plaintiff suffered emotional distress.

These Defendants had ample, reasonable opportunities as well as the duty to prevent this harm,

but failed to do so.

         53.    The misconduct described in this Count was objectively unreasonable, and was

undertaken and committed intentionally.

         54.    As a result of Defendants' misconduct described in this Count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, emotional pain and suffering, and other

grievous and continuing injuries and damages as set forth above.

         55.    Plaintiff’s injuries were caused by employees of the City of Chicago, who acted

pursuant to the policies and practices of the Chicago Police Department described in more detail

below.

                                  COUNT III– 42 U.S.C. § 1983

                          Policies and Practices of the City of Chicago

         56.    The constitutional violations at issue in this case were caused by the official

policies of the City of Chicago, which were implemented by its employees, including the named

Defendants. The City of Chicago failed to promulgate express policies, allowed widespread
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practices and customs to persist, and took actions through its final policymakers, which resulted

in the violation of Plaintiff’s rights at issue here.

        57.     In particular, the City of Chicago failed to promulgate proper or adequate rules,

regulations, policies, and procedures regarding: (a) the arrest and charging of citizens by the

Chicago Police Department, including the disclosure of evidence in criminal proceedings; and

(b) the training, supervision, and discipline of Chicago Police Officers.

        58.     These failures to promulgate proper or adequate rules, regulations, policies, and

procedures were committed by policymaking officials for the City of Chicago and the Chicago

Police Department.

        59.     These failures to promulgate proper or adequate rules, regulations, policies, and

procedures caused routine violations of the constitutional rights of citizens of the City of

Chicago, including Plaintiff’s constitutional rights.

        60.     In addition, at all times relevant to the events described in this Complaint and for

a period of time prior thereto, the City of Chicago had notice of widespread practices and

customs of Chicago Police Officers under which citizens were arrested for, charged with, and

prosecuted for crimes by members of the Chicago Police Department without probable cause,

based on false evidence, and without being provided exculpatory evidence in the possession of

the Chicago Police Department.

        61.     Specifically, Chicago Police Officers routinely arrested, charged, and caused

citizens to be prosecuted, while knowing that there was no probable cause to suspect citizens of

the offenses in question, by inventing false evidence to inculpate innocent individuals, by

making false police reports that falsely reported the circumstances of a crime or investigation, by
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suppressing evidence relating to the offense, including witness statements, and by providing false

statements to other prosecuting, judicial, and law enforcement authorities.

        62.        Policymaking officials had notice of these widespread practices and customs of

the City of Chicago and failed to take action in response.

        63.        These widespread practices and customs of the City of Chicago resulted in routine

violations of the constitutional rights of citizens of the City of Chicago, including Plaintiff’s

constitutional rights.

        64.        Evidence of the City of Chicago’s widespread practice and custom of subjecting

citizens to arrest, charges, and prosecution without probable cause, based on false evidence, and

without disclosure of exculpatory evidence is similarly widespread. Among other things:

              a. Starting in the 1980s, the Chicago Reporter found that tens of thousands of

                   citizens were arrested in Chicago neighborhoods in cases that almost never

                   resulted in a conviction because Chicago Police Officers would not show up in

                   court to defend the arrest. The American Civil Liberties Union challenged this

                   pattern and practice of illegal arrests in the lawsuit Michael Nelson v. City of

                   Chicago, 83 C 1168 (N.D. Ill.).

              b.   In the 1990s, the pattern of illegal seizures continued with the City’s so-called

                   “gang loitering ordinance,” under which thousands of citizens were arrested

                   without justification. The Supreme Court later declared the practice

                   unconstitutional in City of Chicago v. Morales, 527 U.S. 41 (1999).

              c. In the 2000s, illegal seizures by the Chicago Police Department remained

                   common. In 2003, the American Civil Liberties Union again filed suit, this time

                   on behalf of Olympic Gold medalist Shani Davis and others, alleging illegal
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        seizures by Chicago Police officers. Davis v. City of Chicago, 219 F.R.D. 593

        (N.D. Ill. 2004) (No. 03 C 2094), 2003 WL 23800673.

     d. In April 2016, the Chicago Police Accountability Task Force confirmed that

        searches and seizures of African-Americans like Plaintiff occurred at much higher

        rates than searches and seizures of the rest of the population.

     e. In the past decade, the City has litigated and lost dozens of civil rights lawsuits

        contending that arrests, prosecutions, and convictions were secured without

        probable cause, based on false evidence, and/or because material exculpatory

        evidence was suppressed, including:

        i.        In 2006, the city of Chicago agreed to a $2,000,000 settlement with Eric

               Kittler. Kittler v. City of Chicago, No. 03 CV 06992 (N.D. Ill.). Kittler was

               wrongfully convicted of murder and spent five years in prison before being

               acquitted after retrial. His conviction was obtained when Chicago Police

               Officers forced a false confession from him, and concealed and altered records

               to cover up his actual innocence.

        ii.       In 2007, the City of Chicago agreed to a $20,000,000 settlement with

               Madison Hobley, Aaron Patterson, Leroy Orange and Stanley Howard based

               on their wrongful convictions. The four men were all wrongfully convicted

               after being tortured by John Burge. They were pardoned in 2003.

        iii.      Also in 2007, a federal jury awarded Timothy Finwall $2,000,000 against

               the City of Chicago for his wrongful arrest. Finwall v. City of Chicago, No. 04

               CV 4663 (N.D. Ill.). Finwall was wrongfully arrested for attempted
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               kidnapping, after officers misreported the results of a lineup to falsely reflect

               the victim picked Finwall.

        iv.        In 2009, a federal jury awarded $21,000,000 in damages to Juan Johnson

               against the City of Chicago. Johnson v. City of Chicago, No. 05 CV 1042

               (N.D. Ill.). Johnson was wrongfully convicted ofmurder, and spent 15 years in

               prison as the result of fabricated evidence.

        v.         In 2013, the City of Chicago agreed to a $10,250,000 settlement with

               Alton Logan, Logan v. City of Chicago, No. 09 CV 5471 (N.D. Ill.). Logan

               had been wrongfully convicted of a 1982 murder, a crime he did not commit.

               His conviction was obtained when Chicago Police Officers including John

               Burge concealed and withheld exculpatory evidence.

        vi.        Also in 2013, Eric Caine reached a $10,000,000 settlement with the City

               of Chicago. Caine v. City of Chicago, No. 11 CV 08996 (N.D. Ill.). Caine was

               wrongfully convicted of double murder after officers working for Jon Burge

               tortured him into a false confession.

        vii.       In 2017, the City of Chicago approved a $30,999,000 settlement with

               Michael Saunders, Vincent Thames, Harold Richardson and Terrill Swift, the

               so called “Englewood 4.” Each man spent around 15 years in prison for a rape

               and murder they did not commit. They were convicted based on coerced

               confessions, and only freed when DNA evidence established the identity of

               the actual killer.

        viii.      In December 2016, a jury in Fields v. City of Chicago, No. 10 C 1168

               (N.D. Ill.), found that the Chicago Police Department maintained a policy and
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                        practice of suppressing material exculpatory evidence in secret files for

                        decades, awarding Fields who was wrongly convicted as a result of the policy

                        more than $21,000,000.

                  ix.      In 2017, a federal jury awarded Deon Patrick more than $13,000,000 for

                        the 25 years he spent in prison after being wrongfully convicted of murder.

                        Patrick v. City of Chicago, No. 14 CV 3658 (N.D. Ill.). Patrick was tortured,

                        coerced into confessing, and faced a case built on evidence fabricated by

                        police.

             f. These examples demonstrate that the Chicago Police Department’s pattern and

                  practice of falsely arresting, prosecuting, and convicting citizens, and particularly

                  African-American citizens, is longstanding and widespread.

             g.   Many of these illegal arrests, prosecutions, and convictions have resulted in

                  settlements approved by the City of Chicago. Between 2008 and 2016, for

                  example, the City paid judgments and settlements in a minimum of 700 false

                  arrest cases, paying tens of millions of dollars to citizens whose constitutional

                  rights had been violated by Chicago Police officers.

       65.        In addition to the widespread practices discussed above, the violations of

Plaintiff’s constitutional rights were also caused by the City’s failure to adequately train,

supervise, and discipline its officers. At all relevant times and for a period of time prior thereto:

(a) Chicago Police Officers were permitted to arrest, charge, and prosecute citizens without

proper training, supervision, or discipline by supervisors in the Chicago Police Department with

knowledge of what constituted permissible basis for criminal charges and how evidence should

be collected, maintained, and transmitted to the criminal justice system, among other subjects;
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and (b) employees of the Chicago Police Department formally and informally adhered to a “code

of silence,” whereby Chicago Police Officers, their supervisors, and other employees of the City

of Chicago agreed explicitly and implicitly not to report misconduct committed by employees of

the Chicago Police Department, creating an environment of lawlessness, without discipline,

where employees of the Chicago Police Department engaged in misconduct without fear of

reprisal.

        66.    The widespread practices and customs of the City of Chicago described above are

themselves evidence of the City’s failure to train, supervise, and discipline Chicago Police

Officers.

        67.    In addition, in March 2015, the American Civil Liberties Union found that

Chicago Police officers were hardly ever trained to conduct seizures after their initial training at

the police academy. The American Civil Liberties Union also found that there was no evidence

that Chicago Police seizures were being supervised by responsible Chicago Police supervisors.

        68.    The U.S. Department of Justice’s January 13, 2017 Investigation of the Chicago

Police Department (DOJ Report, available at https://www.justice.gov/opa/file/925846/download)

likewise found that there were “engrained deficiencies in the systems CPD uses to provide

officers with supervision and training.” In particular, on the subject of training, the DOJ

concluded that the “CPD’s inattention to training needs, including a longstanding failure to

invest in the resources, facilities, staffing, and planning required to train a department of

approximately 12,000 members, leaves officers underprepared to police effectively and lawfully.

Officer errors and misconceptions that result from lack of training are not corrected in the field."

DOJ Report, at 93.
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        69.      On the subject of supervision, the DOJ concluded among other things that

“[I]instead of encouraging the chain of command to instill proper policing tactics and respect for

constitutional policing in CPD officers, CPD provides little incentive, or even opportunity, for

supervisors to meaningfully guide and direct CPD officers. CPD provides even less incentive for

supervisors to hold officers accountable when they deviate from CPD policy and the law. The

City has long known that CPD’s direct supervision of officers is inadequate, including through

the fact that multiple reports in the last two decades have highlighted deficiencies in CPD’s

supervisory practices. Yet, City and CPD leadership have not made the necessary reforms to

CPD’s supervision structure and processes, and community and officer safety suffers as a result.”

DOJ Report, at 105.

        70.      The failure of police supervision and discipline in the City of Chicago during the

relevant time period, and the persistence of a code of silence, has been admitted by City

policymakers and by Chicago Police Officers:

              a. In December 2016, the President of the police officers’ union in Chicago admitted

                 that there is a “code of silence” in the Chicago Police Department.

              b. In 2017, the U.S. Department of Justice found that current officers of the CPD

                 and former high-level officials of the CPD acknowledged a “code of silence.”

              c. The Mayor of the City of Chicago has acknowledged that a “code of silence”

                 exists within the Chicago Police Department.

        71.      In addition, federal juries have found that the Chicago Police Department

maintains a code of silence and fails to supervise and discipline its employees. Each of the

following illustrative cases resulted a significant judgment that put the City of Chicago on notice

of its failure to supervise and discipline officers:
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     a. In the case of Klipfel v. Bentsen, No. 94 C 6415 (N.D. Ill.), a federal jury found

        that as of 1994 the Chicago Police Department maintained a code of silence that

        facilitated misconduct committed by officer Miedzianowski, who is now serving a

        life sentence in federal prison.

     b. In the case of Obrycka v. City of Chicago et al., No. 07 C 2372 (N.D. Ill.), a

        federal jury found that as of February 2007, “The City [of Chicago] had a

        widespread custom and/or practice of failing to investigate and/or discipline its

        officers and/or code of silence.”

     c. In 2017, a federal jury in Laporta v. Chicago, No. 14 C 9665 (N.D. Ill.),found the

        City of Chicago maintained a policy of failing to supervise and discipline officers,

        awarding $44,700,000 in damages against the City of Chicago based in part on

        the widespread failure to discipline officers. Defendant Officer Patrick Kelly used

        his service weapon to shoot a friend in the head. Kelly was named in dozens of

        complaints, and had multiple arrests and a record of alcohol-based misconduct.

        Additionally, he had been named as a civil defendant six times. Kelly was not

        charged by prosecutors for the shooting.

     d. Also in 2017, the City of Chicago agreed to a $20,000,000 settlement in a lawsuit

        alleging the City’s de facto policy of a code of silence enabled officer Joseph

        Frugoli. Manzera v. Frugoli, No. 13 CV 05626 (N.D. Ill.). Frugoli killed a person

        while he was driving drunk. The Chicago Police Department hid evidence of

        Officer Frugoli’s part in the death, as well as his past record of alcohol based

        misconduct.
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             e. The same constitutionally defective oversight system in place during the time

                periods at issue in the Klipfel case and in the Obrycka case were in place between

                2014 and 2017, when Plaintiff suffered the abuse described above.

       72.      The City of Chicago has long been aware that its supervision and discipline of

police officers is inadequate. Nonetheless, it has taken no action to ensure that police officers

who commit misconduct are disciplined.

       73.      The U.S. Department of Justice found, “Chicago seldom holds officers

accountable for misconduct.” DOJ Report, at 46.

       74.      In the seven years leading up to the DOJ Report, when a citizen made a complaint

against a Chicago Police Officer, the Chicago Police Department sided with the officer and

against the complainant 98% of the time. This one-sidedness extends to officers who fabricate or

manipulate evidence in violation of Chicago Police Department Rule 14. In its report, the U.S.

Department of Justice concluded: “[O]ur investigation found that IPRA and BIA treat such

efforts to hide evidence as ancillary and unexceptional misconduct, and often do not investigate

it, causing officers to believe there is not much to lose if they lie to cover up misconduct.

Investigators employ a higher standard to sustain claims against officers for making false

statements under what is known as a Rule 14 charge and they rarely expand their investigations

to charge accused and witness officers with lying to cover up misconduct. Nor, until recently, has

the City focused much attention on officers’ efforts to conceal by mishandling video and audio

equipment or by retaliating against civilians who witness misconduct.” DOJ report, at 8.

       75.      Serious abuses by Chicago Police Officers go entirely undisciplined by

supervisors in the Chicago Police Department and policymakers in the City of Chicago. For

example, in 2001, Chicago Police Officer Joseph Miedzianowski was convicted of several
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corruption charges. The Chicago Police Department ignored dozens of complaints against him.

In 2011, Chicago Police Officer Jerome Finnigan was convicted of myriad corruption and

misconduct charges. He, too, was not timely disciplined by the City of Chicago. In 2013,

Chicago Police Sergeant Ronald Watts pleaded guilty to several federal corruption charges. The

after effects of Watts’s crimes are still being felt. In November 2017, fifteen people had their

convictions vacated in Cook County as a result of Watts’s misconduct. Watts also was not

meaningfully disciplined by the City of Chicago. For decades, Chicago Police Officers Jon

Burge and Reynaldo Guevara secured the wrongful conviction of numerous African-American

and Latino men through the use of torture, physical violence, and other extreme investigative

misconduct. Their misconduct alone has led to millions of dollars of liability for the City of

Chicago. Burge was convicted of federal crimes. These officers, too, were never timely or

meaningfully disciplined by the City of Chicago.

       76.     The City of Chicago has never implemented substantive measures to address the

obvious deficiencies in its training, supervision, and discipline of Chicago Police Officers.

       77.     Between 2004 and 2016, the City paid more than $500 million to settle or pay

judgments in police misconduct cases, without even conducting disciplinary investigations in

more than half of the cases, and while recommending discipline in fewer than 4% of those cases.

       78.     The City has paid $90,000 in settlements for police misconduct cases involving

Officer Hernandez in particular. She was accused of participating in a false arrest of an African-

American man on September 1, 2010 (N.D. Ill. case 11-cv-7820). The City paid $50,000 to settle

those allegations. Officer Hernandez was also accused of participating in an illegal search and

seizure—breaking into the home of a woman, with guns drawn, for whom there was no
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warrant—on March 1, 2015 (N.D. Ill. case 15-cv-7029). The City paid $40,000 to settle those

allegations.

        79.     The U.S. Department of Justice “confirmed that CPD’s accountability systems are

broadly ineffective at deterring or detecting misconduct, and at holding for excessive force.

        80.     Similarly, the Chicago Police Accountability Task Force reported in April 2016

that “[g]oing back years, and continuing to the present day, CPD has missed opportunities to

make accountability an organizational priority.”

        81.     Between 2011 and 2015, nearly half of complaints filed against police officers

were not even investigated.

        82.     All of the above widespread practices and customs, individually and/or together,

were allowed to flourish because the leaders, supervisors, and policymakers of the City of

Chicago directly encouraged, allowed, acquiesced in, and/or turned a blind eye to the very type

of misconduct discussed above, by failing to adequately train, supervise, and control Chicago

Police Officers, by failing to promulgate policies, and by failing to adequately punish and

discipline prior instances of similar misconduct, thus directly encouraging future abuses, such as

those affecting Plaintiff.

        83.     The above-described widespread practices, so well-settled as to constitute de facto

policy within the Chicago Police Department, were able to exist and thrive because

policymakers, acting under color of law with authority over the same, exhibited deliberate

indifference to the problem, thereby effectively ratifying it.

        84.     For years, these policymaking officials for the City of Chicago stood shoulder to

shoulder with the Defendant Officers, helped to maintain the code of silence, and participated in

the suppression of material evidence, despite the violations of Plaintiff’s rights.
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       85.     All of the misconduct described in this Complaint was undertaken pursuant to the

official policies of the City of Chicago described in this Count.

                                            JURY DEMAND

       Plaintiff, Roland Black hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.



Respectfully submitted,

ROLAND BLACK

By: s/ Michael P. Persoon                                           Dated: September 25, 2018
   One of Plaintiff’s Attorneys


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